                         Case 22-10456-nmc                  Doc 1       Entered 02/10/22 09:06:06                   Page 1 of 14


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                National Transportation Inc

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  9525 Hillwood Dr. Ste. 170
                                  Las Vegas, NV 89134
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clark                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    National Transportation Inc                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                           Case 22-10456-nmc                        Doc 1          Entered 02/10/22 09:06:06                   Page 3 of 14
Debtor    National Transportation Inc                                                                     Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   National Transportation Inc                                                    Case number (if known)
         Name

                               $50,001 - $100,000                           $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                               $100,001 - $500,000                          $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                               $500,001 - $1 million                        $100,000,001 - $500 million           More than $50 billion




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Debtor    National Transportation Inc                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 10, 2022
                                                  MM / DD / YYYY


                             X   /s/ James R. Gleich                                                      James R. Gleich
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ David J. Winterton                                                    Date February 10, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 David J. Winterton 004142
                                 Printed name

                                 David Winterton & Associates, LTD
                                 Firm name

                                 7881 W. Charleston Blvd.
                                 Suite 220
                                 Las Vegas, NV 89117
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     702-363-0317                  Email address      autumn@davidwinterton.com

                                 004142 NV
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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 Fill in this information to identify the case:
 Debtor name National Transportation Inc
 United States Bankruptcy Court for the: DISTRICT OF NEVADA                                                                                           Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 9525 Hillwood LLC                                               Services               Disputed                                                                            $4,591.68
 1333 North Buffalo                                              Rendered
 Drive, Suite 120
 Las Vegas, NV
 89128
 Anthem Blue Cross                                               Services               Disputed                                                                            $5,214.71
 and Blue Shield                                                 Rendered
 PO BOX 51011 Los
 Angeles
 Los Angeles, CA
 90051
 dBS (Bobby Gibson)                                              Services               Disputed                                                                          $27,895.00
 4053 Williford Way                                              Rendered
 Spring Hill, TN
 37174
 Fora Financial                                                  Business Loan          Disputed                                                                        $394,801.12
 519 8th Ave FL 11
 New York, NY 10018
 John Kindt N/P                                                  Services               Disputed                                                                        $101,175.76
 1417 Madrid Ave                                                 Rendered
 Torrance, CA 90501
 Ken Hancock N/P                                                 Services               Disputed                                                                        $505,517.40
 640 Martis Peak                                                 Rendered
 Drive
 Incline Village, NV
 89451
 Kindel Gagan                                                    Services               Disputed                                                                          $12,500.00
 550 South Hope                                                  Rendered
 Street Suite 530
 Los Angeles, CA
 90071
 Marc A. Jacobi &                                                Services               Disputed                                                                            $8,155.00
 Associates                                                      Rendered
 311 E Highway
 Street
 Fredericksburg, TX
 78624


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    National Transportation Inc                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 NewCo Capital                                                   Services               Disputed                                                                        $394,801.12
 80 Broad St Suite                                               Rendered
 3303
 New York, NY 10004
 QUEST                                                           Services               Disputed                                                                                  $6.01
 DIAGNOSTICS                                                     Rendered
 P.O. BOX 740351
 Cincinnati, OH
 45274
 Rice Reuther                                                    Services               Disputed                                                                            $1,672.00
 Sullivan & Carroll                                              Rendered
 LLP
 3800 Howard
 Hughes Parkway
 Suite 1200
 Las Vegas, NV
 89169
 Rich Nolan                                                      Services               Disputed                                                                              $128.70
 2341 Old Ranch Rd                                               Rendered
 Escondido, CA
 92027
 SDCRAA Ground                                                   Services               Disputed                                                                              $440.03
 Transportation                                                  Rendered
 PO Box 81323
 San Diego, CA
 92108
 T.J. Pantaleo                                                   Services               Disputed                                                                        $281,451.84
 PO Box 4300                                                     Rendered
 Burbank, CA 91503
 Thomas &                                                        Services               Disputed                                                                            $3,333.34
 Josephine                                                       Rendered
 Herrschaft
 8 Whitney Cir
 Glen Cove, NY
 11542
 Zoom Video                                                      Services                                                                                                     $792.88
 Communications                                                  Rendered
 55 Almaden Blvd 6th
 Floor
 San Jose, CA 95113




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re       National Transportation Inc                                                                      Case No.
                                                                                    Debtor(s)                 Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  2,500.00
             Prior to the filing of this statement I have received                                        $                  2,500.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     February 10, 2022                                                              /s/ David J. Winterton
     Date                                                                           David J. Winterton 004142
                                                                                    Signature of Attorney
                                                                                    David Winterton & Associates, LTD
                                                                                    7881 W. Charleston Blvd.
                                                                                    Suite 220
                                                                                    Las Vegas, NV 89117
                                                                                    702-363-0317 Fax: 702-363-1630
                                                                                    autumn@davidwinterton.com
                                                                                    Name of law firm




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                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      National Transportation Inc                                                                               Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 7235 Investments LLC                                                                                                            12.001%



 Bradlee Downs                                                                                                                   2.933%



 James Gleich                                                                                                                    39.600%



 John Gilbert                                                                                                                    2.933%



 John Kindt                                                                                                                      39.600%



 Sean Devlin                                                                                                                     2.933%



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date February 10, 2022                                                        Signature /s/ James R. Gleich
                                                                                            James R. Gleich

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      National Transportation Inc                                                              Case No.
                                                                                    Debtor(s)        Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       February 10, 2022                                           /s/ James R. Gleich
                                                                         James R. Gleich/President
                                                                         Signer/Title




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                  National Transportation Inc
                  9525 Hillwood Dr. Ste. 170
                  Las Vegas, NV 89134

                  David J. Winterton
                  David Winterton & Associates, LTD
                  7881 W. Charleston Blvd.
                  Suite 220
                  Las Vegas, NV 89117

                  Clark County Assessor
                  c/o Bankruptcy Clerk
                  P.O. Box 551401
                  Las Vegas, NV 89151-4010

                  CLARK COUNTY TREASURER
                  c/o Bankruptcy Clerk
                  BOX 551220
                  500 SOUTH GRAND CENTRAL PKWY
                  Las Vegas, NV 89155-1220

                  DEPT OF EMPLOYMENT, TRAINING & REHAB
                  EMPLOYMENT SECURITY DIVISION
                  500 EAST THIRD STREET
                  Carson City, NV 89713

                  DEPT OF MOTOR VEHICLES
                  PUBLIC SAFETY RECORDS DIVISION
                  555 WRIGHT WAY
                  Carson City, NV 89711-0001

                  IRS
                  P.O. Box 7346
                  Philadelphia, PA 19101

                  NEVADA DEPT OF TAXATION
                  BANKRUPTCY SECTION
                  555 E WASHINGTON AVE #1300
                  Las Vegas, NV 89101

                  Social Security Administration
                  Regional Cheif Counsel, Region IX
                  160 Spear Street, Suite 800
                  San Francisco, CA 94105

                  United States Trustee
                  300 Las Vegas Blvd., S. #4300
                  Las Vegas, NV 89101-6637

                  9525 Hillwood LLC
                  1333 North Buffalo Drive, Suite 120
                  Las Vegas, NV 89128
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              Anthem Blue Cross and Blue Shield
              PO BOX 51011 Los Angeles
              Los Angeles, CA 90051

              Berkovitch & Bouskila, PLLC
              80 Broad St Suite 3303
              New York, NY 10004

              dBS (Bobby Gibson)
              4053 Williford Way
              Spring Hill, TN 37174

              financed


              Fora Financial
              519 8th Ave FL 11
              New York, NY 10018

              John Kindt N/P
              1417 Madrid Ave
              Torrance, CA 90501

              Ken Hancock N/P
              640 Martis Peak Drive
              Incline Village, NV 89451

              Kindel Gagan
              550 South Hope Street Suite 530
              Los Angeles, CA 90071

              Marc A. Jacobi & Associates
              311 E Highway Street
              Fredericksburg, TX 78624

              NewCo Capital
               80 Broad St Suite 3303
              New York, NY 10004

              QUEST DIAGNOSTICS
              P.O. BOX 740351
              Cincinnati, OH 45274

              Rice Reuther Sullivan & Carroll LLP
              3800 Howard Hughes Parkway Suite 1200
              Las Vegas, NV 89169

              Rich Nolan
              2341 Old Ranch Rd
              Escondido, CA 92027

              SDCRAA Ground Transportation
              PO Box 81323
              San Diego, CA 92108
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              T.J. Pantaleo
              PO Box 4300
              Burbank, CA 91503

              Thomas & Josephine Herrschaft
              8 Whitney Cir
              Glen Cove, NY 11542

              Zoom Video Communications
              55 Almaden Blvd 6th Floor
              San Jose, CA 95113
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                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      National Transportation Inc                                                                    Case No.
                                                                                    Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for National Transportation Inc in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 February 10, 2022                                                     /s/ David J. Winterton
 Date                                                                  David J. Winterton 004142
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for National Transportation Inc
                                                                       David Winterton & Associates, LTD
                                                                       7881 W. Charleston Blvd.
                                                                       Suite 220
                                                                       Las Vegas, NV 89117
                                                                       702-363-0317 Fax:702-363-1630
                                                                       autumn@davidwinterton.com




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